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 1   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
 2   KRIKOR J. MESHEFEJIAN (SBN 255030)
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 6

 7   Attorneys for Chapter 11 Debtors and Debtors in Possession

 8
                           UNITED STATES BANKRUPTCY COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
                                SAN FERNANDO DIVISION
10

11   In re:                                       Lead Case No.: 1:17-bk-12408-MB

12   IRONCLAD PERFORMANCE WEAR                    Jointly administered with:
     CORPORATION, a California
13   corporation,                                 1:17-bk-12409-MB
14                                                (Ironclad Performance Wear Corporation, a
               Debtor and Debtor in               Nevada corporation)
15   Possession.
     _________________________________            Chapter 11 Cases
16   In re:
17   IRONCLAD PERFORMANCE WEAR                    SUPPLEMENTAL PROOF OF SERVICE
18   CORPORATION, a Nevada corporation,           OF NOTICE OF 341(a) MEETING OF
                                                  CREDITORS
19              Debtor and Debtor in
     Possession.
20   _________________________________            [Related to Docket No. 27 in Case No. 1:17-
                                                  bk-12408-MB and Docket No. 8 in Case No.
21      Affects both Debtors                      1:17-bk-12409-MB]
22
       Affects Ironclad Performance Wear
23   Corporation, a California corporation only

24     Affects Ironclad Performance Wear
     Corporation, a Nevada corporation only
25

26

27

28


                                                   1
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 1
                   SUPPLEMENTAL PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
 3
     A true and correct copy of the foregoing document entitled NOTICE OF 341(a) MEETING OF
 4   CREDITORS will be served or was served (a) on the judge in chambers in the form and manner required
     by LBR 5005-2(d); and (b) in the manner stated below:
 5
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On September 19, 2017, I checked the CM/ECF docket for this bankruptcy
 7   case or adversary proceeding and determined that the following persons are on the Electronic Mail
     Notice List to receive NEF transmission at the email addresses stated below:
 8
     N/A
 9
     2. SERVED BY UNITED STATES MAIL: On September 19, 2017, I served the following persons
10   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
     true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
11   and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
     completed no later than 24 hours after the document is filed.
12
                                                                             Service information continued on attached page
13
14   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
     EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
15   on September 19, 2017, I served the following persons and/or entities by personal delivery, overnight
     mail service, or (for those who consented in writing to such service method), by facsimile transmission
     and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
16   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
17   None.
18   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
     true and correct.
19
      September 19, 2017                    Stephanie Reichert                          /s/ Stephanie Reichert
20    Date                                  Type Name                                   Signature
21
22
23
24
25
26
27
28

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Ironclad Performance Wear (8300)




WILLIAM AISENBERG                            THE ELLEN IDELSON TRUST DATED        ETHAN AISENBERG
3900 LEGACY TRAIL CIR                        MARCH 20 2003                        3900 LEGACY TRAIL CIR
CARROLLTON, TX 75010                         710 BROOKTREE ROAD                   CARROLLTON, TX 75010
                                             PACIFIC PALISADES, CA 90272



SCOTT ALDERTON                               Greg Akselrud                        GREGORY AKSELRUD
19687 LOS ALIMOS ST                          C/O Stubbs Alderton & Markiles LLP   15260 VENTURA BLVD
CHATSWORTH, CA 91311                         15260 Ventura Blvd 20th Fl.          20TH FL
                                             Sherman Oaks, CA 91403               SHERMAN OAKS, CA 91403



RYAN AZLEIN                                  ELI ARRIV                            BARBARA ASHTON
1137 Calle Elaina                            4340 COLETA RD                       2417 LESTER AVENUE
Thousand Oaks, CA 91630                      AGOURA, CA 91301                     CLOVIS, CA 93619




R D PETE BLOOMER                             B.A.T.B. LLC                         NATASHA H BEN
7542 CRESTVIEW DRIVE                         5750 SOUTH BEECH CT                  104 Saratoga Drive
LONGMONT, CO 80504                           GREENWOOD VILLAGE, CO 80121          Belle Chasse, LA 70037




Hubert L Brown & Annabelle Brown Fowlkes     RONALD D BLOOMER                     WILLIAM L BOETTCHER
& Quintard P Courtney Iii Trustees           7542 CRESTVIEW DR                    727 HAYS CIR
U/A Dtd 12-07-07                             NIWOT, CO 80504                      LONGMONT, CO 80501
H L Brown Jr Charitable Lead Annuity Trust
P.O. Box 2237
Midland, TX 79702

CHERYL WASHINGTON                            TARBY BRYANT                         MCDERMOTT & BULL
1920 HUTTON CT                               4 HAWTHORNE CIR                      2 VENTURE
STE 300                                      SANTA FE, NM 87506                   SUITE 100
FARMERS BRANCH, TX 75234                                                          IRVINE, CA 92618



CLAYTON WYOMING LLC                          ROBERT C CLARK                       VANE CLAYTON
1364 NORTHPARK DRIVE                         12151 WEST 32ND DR                   1364 NORTH PARK DRIVE
LAFAYETTE, CO 80026                          WHEEATRIDGE, CO 80033                LAFAYETTE, CO 80026




Kevin Debre                                  DAVID J COOK                         JEFFREY D CORDES
C/O Stubbs Alderton & Markiles LLP           2163 LIMA LOOP                       1570 BENT CREEK DRIVE
15260 Venrua Blvd 20th Fl                    PMB 071156                           SOUTHLAKE, TX 76092
Sherman Oaks, CA 91403                       LAREDO, TX 78045



GLEN K INGALLS & RENEE PACHECO               MELISSA DERBY                        Michael Anthony Digregorio Trustee
TTEES U/A DTD                                393 LAUREL AVENUE                    U/A Dtd 03-31-00
4-5-05 THE INGALLS PACHECO 2005              NOVATO, CA 94945                     The Digregorio Revocable Trust
TRUST                                                                             1420 Kingsboro Ct
747 ROSEMOUNT RD                                                                  Westlake Village, CA 91362
OAKLAND, CA 94610
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KYLE EDLUND                              JEFFREY F GERSH & ARIE J GERSH    STEVEN C EARNSHAW
3893 FAIRWAY DR                          LIVING TRUST DTD                  5679 POLAR WAY
WOODBURY, MN 55125                       09/26/1991                        PARK CITY, UT 84098
                                         5465 ROUND MEADOW RD
                                         HIDDEN HILLS, CA 91302


THOMAS ELLIOTT                           REYHEENA EIDARIUS                 DONALD P ELLIOTT
115 BROOKS AVE                           23436 CAMINITO VALLE              9400 E ILIFF AVE
VENICE, CA 90291                         LAGUNA HILLS, CA 92563            #361
                                                                           DENVER, CO 80231



STEVE FEDEA                              CEDE & CO (FAST)                  Richard Kronman & Ian Matthew Trustees
2040 W BELMONT                           570 WASHINGTON BLVD               Fbo Kronman Matthew & Assoc Defined
#201                                     JERSEY CITY, NJ 07310             Benefit Plan Dtd 1/1/99
CHICAGO, IL 60618                                                          30111 Harvester Rd
                                                                           Malibu, CA 90265


SCOTT GALER                              THOMAS FELTON                     MARK W FISCHER
C/O STUBBS ALDERTON & MARKILES           2006 TOUCH GOLD COURT             285 IROQUOIS DR
15260 VENTURA BLVD 20TH FL               ROWLETT, TX 75088                 BOULDER, CO 80303
SHERMAN OAKS, CA 91403



GEMINI PARTNERS INC                      BROCK GANELES                     KONRAD GATIEN
10900 WILSHIRE BLVD                      41 W 72ND ST                      15260 VENTURA BLVD
STE 300                                  APT 14A                           20TH FLOOR
LOS ANGELES, CA 90024                    NEW YORK, NY 10023                SHERMAN OAKS, CA 91403



CHARLES H GIFFEN                         ARTHUR GERRICK                    DANIEL THOMAS GIEBER
6000 ELBA PLACE                          172 WILD LILAC                    PO BOX 7298
WOODLAND HILLS, CA 91367                 IRVINE, CA 92620                  MENLO PARK, CA 94026




MICHAEL GRANT                            TODD GITLIN                       STEPHEN GOODHUE
222 ROUND HILL RD                        269 S BEVERY DR STE 1213          203 STAR CARLISLE
TIBURON, CA 94920                        BEVERLY HILLS, CA 90212           W AUSTRAILIA,, 6101
                                                                           AUSTRAILIA



MARK HAWKING                             MICHAEL GROSSMAN                  XIN GUO
2278 CAMARILLAR DR                       5557 GROEHMANN LN                 540 LAKE FOREST DR
CAMARILLO, CA 93010                      FREDERICKSBURG, TX 78624          COPPELL, TX 75019




MICHAEL CASEY HOCH                       CHRISTOPHER M HAZLITT             DAVID G HILL
291 BROADWAY                             1063 Mapleton Avenue              1712 PEARL ST
COSTA MESA, CA 92627                     Boulder, CO 80304                 BOULDER, CO 80302




Emil Iannaccone Ttee Ua Dtd 9/16/2010    JONATHAN HODES                    RHONDA HOFFARTH
Emil Iannaccone Seperate Propert Trust   C/O STUBBS ALDERTON & MARKILES    462 CALLE DE ARAGON
11855 Woodley Ave                        15620 VENTURA BLVD 20TH FL        REDONDO BEACH, CA 90277
Granada Hills, CA 91344                  SHERMANOAKS, CA 91403
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EDUARD ALBERT JAEGER                    ENSCO INC                                   DAVID L JACOBS
443 CONCORD ST                          3110 FAIRVIEW PARK DR STE 300               335 LEE HILL DRIVE
EL SEGUNDO, CA 90245                    FALLS CHURCH, VA 22042                      BOULDER, CO 80302




JARUS FAMILY TRUST                      ERIC JAEGER                                 HEIDI JAEGER
938 DUNCAN AVE                          1408 CAMBRIDGE CROSSING                     26800 PACIFIC COAST HWY
MANHATTAN BEACH, CA 90266               SOUTHLAKE, TX 76092                         MALIBY, CA 90265




Rebecca D Jarus & Scott M Jarus Ttees   JARUS FAMILY TRUST TR SCOTT M               JARUS FAMILY TRUST U/A DTD
U/A Dtd 10/19/2007                      JARUS TTEE                                  10/19/2007
Jarus Family Family Trust               REBECCA                                     938 DUNCAN AVE
938 Ducan Ave                           D JARUS TTEE U/A DTD 10/19/2007             MANHATTAN BEACH, CA 90266
Manhattan Beach, CA 90266-6626          938 DUCAN AVE
                                        MANHATTAN BEACH, CA 90266

CHARLES E FRISCO JR                     Joanna Waldear-Lucas As Ttee                MICHAEL B JOHNSON
12749 Norwalk Blvd. Ste 100             Fbo The Joanna Waldear-Lucas Living Trust   7255 RADFORD AVE
Norwalk, CA 90650                       Dtd 4-12-06                                 N HOLLYWOOD, CA 91605
                                        P.O. Box 101
                                        Malibu, CA 90265


STANLEY M RUMBOUGH JR                   CHARLES E FRISCO JR                         ROBERT F CHARLES JR
44 COCOANUT ROW STE B103                8135 FLORENCE AVENUE                        2955 PARK LAKE DR
PALM BEACH, FL 33480                    SUITE 101                                   BOULDER, CO 80301
                                        DOWNEY, CA 90240



PATRICK JUETTEN                         CHRIS JUETTEN                               MATTHEW JUETTEN
11417 HASTINGS ST NE                    2906 NW ENDICOTT ST                         633 HAWKSBILL ISLAND DR
BLAINE, MN 55449                        CAMAS, WA 98607                             SATELLITE BEACH, FL 32937




BRUCE G KLASS                           ANTHONY KEATS                               THOMAS KENDALL
447 KENSINGTON DR                       15260 VENTURA BLVD                          1112 MONTANA AVENUE # 716
CORDILERA, CO 81632                     20TH FLOOR                                  SANTA MONICA, CA 90403
                                        SHERMAN OAKS, CA 91403



JAEGER FAMILY LLC                       MATTHEW LAUBERT                             KNUTE LEE
1408 CAMBRIDGE CROSSING                 C/O IRONCLAD PERFORMANCE WEAR               9109 WILSHIRE COURT NE
SOUTHLAKE, TX 76092                     CORP                                        ALBUQUERQUE, NM 87122
                                        1920 HUTTON COURT #300
                                        FARMERS BRANCH, TX 75234


KLEIN PARTNERS LTD                      GREAT PANDA INVESTMENT CO LLLP              SEAMARK FUND LP
4973 CLUBHOUSE CT                       1325 PITKIN AVE                             223 WILMINGTON W CHESTER PIKE
BOULDER, CO 80301                       SUPERIOR, CO 80027                          #115
                                                                                    CHADDS FORD, PA 19317



THOMAS W. MASON                         FAMILY TRUST OF EARL G LUNCEFORD            MURRAY MARKILES
6856 WISH AVENUE                        8850 E FERNAN LAKE RD                       C/O STUBBS ALDERTON & MARKILES
LAKE BALBOA, CA 91406                   COEUR DALENE, ID 83814                      15260 VENTURA BLVD 20TH FLOOR
                                                                                    SHERMAN OAKS, CA 91403
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RONALD S WEAVER MD                CINDY MATTHEWS                    JOHN MCILVERY
536 PALISADES AVENUE              6725 WHALEY DR                    C/O STUBBS ALDERTON & MARKILES
SANTA MONICA, CA 90402            BOULDER, CO 80303                 15260 VENTURA BLVD 20TH FL
                                                                    SHERMAN OAKS, CA 91403



MICHAEL A DIGREGORIO              WILLIAM MECK                      ROBERT MEOTTLE
1420 KINSGBORO COURT              11027 LIMERICK AVENUE             27909 SMYTH DR
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24 TAMALPAIS AVE                  301 WHITMORE LANE                 733 21ST ST
MILL VALLEY, CA 94941             LAKE FOREST, IL 60045             MERMOSA BEACH, CA 90254




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HIGHLAND PARK, IL 60035           SHORT HILLS, NJ 07078             TUCSON, AZ 85739




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WACONIA, MN 55387                 SANTA ANA, CA 92701               GOLETA, CA 93114




BRIAN SHEENY                      PETER SEAMANS                     JAMES SEIBEL
11711 DARLINGTON AVE UNIT 7       1360 WALNUT ST                    1430 N HARPER AVE
LOS ANGELES, CA 90049             #205                              #305
                                  BOULDER, CO 80302                 W HOLLYWOOD, CA 90046



VALORIE STANSBERRY                SPM CENTER LLC                    KEALA STANFILL
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CHICAGO, IL 60618                 VALENCIA, CA 91355                BEAVERTON, OR 97007




PAMELA SULLIVAN                   STUBBS ALDERTON & MARKILES LLP    V JOSEPH STUBBS
1682 HAYES STREET APT C           15260 VENTURA BLVD                C/O STUBBS ALDERTON & MARKILES
EUGENE, OR 97402                  26TH FL                           15260 VENTURA BLVD 20TH FL
                                  SHERMAN OAKS, CA 91403            SHERMAN OAKS, CA 91403



JOHN E ORCUTT & MARCIA ORCUTT     EDWIN BALDRIDGE TTEE UA DTD       HORACE DUNBAR HOSKINS JR &
JT TEN                            10/30/1992 EDWIN T                ANN REID HOSKINS JT TEN
3221 N SAN SEBASTIAN DRIVE        BALDRIDGE DECLARATION TRUST       7 PENENSULA RD
TUSCON, AZ 85715                  605 SAN ANTONIA AVE               BELVEDERE, CA 94920
                                  MANY LA, LA 71449


WILLIAM MECK & TERESA MECK        ROBERT H KEELEY & SANDRA KEELEY   THOMAS W. MASON & LISA L. MASON
JT TEN                            JT TEN                            JT TEN
11027 LIMERICK AVENUE             PO BOX 240                        6856 WISH AVENUE
CHATSWORTH, CA 91311              HILLSIDE, CO 81232                LAKE BALBOA, CA 91406
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STEVEN W TOWN                        HAROLD SCHAFF & CHERYL SCHAFF        DENNIS TORRES & AVERI TORRES
6301 E CRESTLINE AVE                 TTEES THE SCHAFF TRUST DTD 1-17-03   6779 LAS OLAS WAY
GREENWOOD VILLAGE, CO 80111          780 GLEN ANNIE RD                    MALIBU, CA 90265
                                     GOLETA, CA 93114



KATHERINE BERCI DEFEVERE             BIRCH FAMILY TRUST                   DENNIS TORRES & AVERI TORRES
TRUSTEE DEFEVERE TRUST               1435 OLIVE ST                        TRUST
UAD 9/28/98                          SANTA BARBARA, CA 93101              6779 LAS OLAS WAY
24200 ALBERS STREET                                                       MAILBU, CA 90265
WOODLAND HILLS, CA 91367


THE ORCUTT FAMILY TRUST              RICHARD KRONMAN & MAUREEN            SEGAL FAMILY TRUST
3221 N SAN SEBASTIAN DRIVE           KRONMAN REVOCABLE TRUST              10100 SANTA MONICA BLVD #1300
TUSCON, AZ 85715                     DTD 2/28/02                          LOS ANGELES, CA 90067
                                     30111 HARVESTER RD
                                     MAILBU, CA 90265


ANNALOUISE JAEGER & KEITH            THE SASSOLA III FAMILY TRUST         The William J. & Seemah W. Idelson
VERWOEST                             7771 HERON COURT                     Family Trust Dated April 29, 1997
532 PAUMAKUA PL                      GOLETA, CA 93117                     710 Brooktree Road
KAILUS, HI 96734                                                          Pacific Palisades, CA 90272



Kim Woodworth & Bill Woodworth       ED WETHERBEE                         LOUIS WHARTON
101 Valley Hill Rd                   7269 SIENA WAY                       15260 VENTURA BLVD
Exton, PA 19401                      BOULDER, CO 80301                    20TH FLOOR
                                                                          SHERMAN OAKS, CA 91403



JAMES R YOUNG                        JOE WORDEN                           Brent Waters
2009 RIVERVIEW DR                    4335 FOX CIRCLE                      Resources Global Professionals
BERTHOUD, CO 80513                   MESA, AZ 85205                       17101 Armstrong Ave
                                                                          Irvine, CA 92614-5742



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